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 1                                                              Hon. Richard A. Jones
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 6                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
 7                                AT SEATTLE
 8
     UNITED STATES OF AMERICA,                     No. CR14-165RAJ
 9
                          Plaintiff,
10                                                 ORDER DENYING
            v.                                     DEFENDANT GREER’S
11                                                 MOTION FOR
     CRAIG GREER,                                  RECONSIDERATION
12                                                 REGARDING CUSTODIAL
                          Defendant.               TERM OF IMPRISONMENT
13

14

15         THIS MATTER has come before the court on Defendant Craig Greer’s

16   Motion for Reconsideration Regarding Custodial Term of Imprisonment. Having
     considered the motion, the government’s opposition, the files and pleadings herein,
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     and being fully advised,
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           IT IS HEREBY ORDERED that Defendant Craig Greer’s Motion for
19
     Reconsideration Regarding Custodial Term of Imprisonment (Dkt. #275) is
20
     DENIED.
21
           DATED this 6th day of June, 2016.
22

23                                                    A
                                                      The Honorable Richard A. Jones
24                                                    United States District Judge

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      ORDER DENYING DEFENDANT GREER’S
      MOTION FOR RECONSIDERATION – 1
